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 5
 6                        IN THE UNITED STATES DISTRICT COURT

 7                             FOR THE DISTRICT OF ARIZONA

 8
     Colocation America Corporation,                      No. CV-17-00421-PHX-NVW
 9
                          Plaintiff,                      ORDER
10
     v.
11
     Mitel Networks Corporation,
12
                          Defendant.
13
     Mitel Networks Corporation,
14
15                        Counterclaimant,
16   v.
17   Colocation America Corporation; and Corey
     Allen Kotler and Mojgan Tabibnia, husband and
18   wife,
19                        Counter-defendants.
20          Before the Court are Mitel Networks Corporation’s Motion Under Fed. R. Civ. P.
21   56 for Summary Judgment on Contract Interpretation (Doc. 81), Plaintiff’s Cross Motion
22   for Summary Judgment on Contract Interpretation (Doc. 84), and the replies.
23          The cross-motions for summary judgment ask the Court to determine whether the
24   parties’ Domain Name Assignment Agreement includes the sale of a block of Internet
25   addresses (referred to as IPv4 134.22.0.0/16). Both parties agree that summary judgment
26   should be granted for the party that prevails on this motion, subject to litigation of Mitel
27   Networks Corporations’ pleaded defenses if Colocation America Corporation prevails on
28   contract interpretation. On its face, the executed agreement does not include the sale of
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 1   IPv4 addresses, which number about 65,536. Further, the parties’ course of negotiations
 2   demonstrates that Mitel Networks had no reason to know that Colocation interpreted their
 3   agreement as including the sale of IPv4 addresses, and Colocation not only had reason to
 4   know Mitel Networks interpreted the agreement differently, it intentionally led Mitel
 5   Networks into thinking the agreement involved only the assignment of a domain name.
 6   If there is any ambiguity, under Restatement (Second) of Contracts § 201(2), the
 7   agreement is interpreted in accordance with the meaning attached by Mitel Networks.
 8   I.    LEGAL STANDARD
 9         A motion for summary judgment tests whether the opposing party has sufficient
10   evidence to merit a trial. Summary judgment should be granted if the evidence reveals no
11   genuine dispute about any material fact and the moving party is entitled to judgment as a
12   matter of law. Fed. R. Civ. P. 56(a). A material fact is one that might affect the outcome
13   of the suit under the governing law, and a factual dispute is genuine “if the evidence is
14   such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v.
15   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
16   II.   MATERIAL FACTS
17         A.      The Parties
18         Plaintiff/Counter-defendant Colocation America Corporation is a Nevada
19   corporation with offices in Nevada and California. Albert A. Ahdoot is the President of
20   Colocation. Ahdoot signed the Domain Name Assignment Agreement on behalf of
21   Colocation.
22         Defendant/Counterclaimant Mitel Networks Corporation is incorporated in
23   Canada and maintains its principal place of business in Canada.          Mitel Networks
24   indirectly acquired assets from the Gandalf Technologies Inc. bankruptcy that include the
25   Canadian domain name gandalf.ca.        Its intellectual property counsel, Michelle R.
26   Whittington, has an office in Arizona and negotiated the Domain Name Assignment
27   Agreement on behalf of Mitel Networks. Mitel Networks’ General Counsel signed the
28   Domain Name Assignment Agreement on behalf of Mitel Networks.

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 1         B.     The Broker
 2         Ahdoot hired Corey Allen Kotler to locate the owners of certain IPv4 addresses
 3   and to negotiate contracts to buy the IPv4 addresses. Ahdoot met Kotler through a friend
 4   of Ahdoot’s lawyer, Paul Seligman. Before working for Ahdoot, Kotler did not know
 5   anything about IP addresses and had not previously acted as a broker for Colocation.
 6         Ahdoot located a block of IPv4 addresses on the American Registry for Internet
 7   Numbers that were registered to Gandalf Technologies.         By researching Gandalf’s
 8   bankruptcy records, Ahdoot concluded that “Mitel” had acquired Gandalf’s assets, but he
 9   did not determine whether “Mitel” was “Mitel Networks Corporation” and whether the
10   bankruptcy assets acquired by “Mitel” included the block of IPv4 addresses registered to
11   Gandalf Technologies. Ahdoot directed Kotler to negotiate a deal to acquire from Mitel
12   Networks the block of IPv4 addresses that might have been acquired from Gandalf
13   Technologies by “Mitel.”
14         Kotler’s email communications were signed under the name “Corey Allen” as
15   “Principal Advisor” of “Dividend Advisors, LLC.” It was Ahdoot’s understanding that
16   Kotler was the owner/member of Dividend Advisors and Dividend Advisors had the
17   same business address as Ahdoot’s attorney Seligman.
18         C.     The Communications
19         On February 18, 2016, Kotler emailed Mitel Networks, stating that “we would like
20   to purchase the domain Gandalf.ca.” Kotler further stated that “we would like to issue
21   you and/or your company immediate payment for a letter of authorization of sale for the
22   purchase of this domain.”
23         On February 19, 2016, Whittington sent an email to Kotler with the subject
24   “Domain.” The email stated, “As Intellectual Property Counsel for Mitel, I have been
25   asked to respond to your email request regarding the <<gandalf.ca>> domain name.”
26   Whittington asked Kotler, “Can we set a time to discuss your offer?”
27         Shortly thereafter, Kotler forwarded Whittington’s email to Ahdoot and Seligman
28   with the following message: “I would write it up for the domain and somehow slip in the

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 1   IPV4.”     The same day, Kotler added the following to his message to Ahdoot and
 2   Seligman:
 3          Is there a way to slip it in nebulously? i.e “…and should any potential
 4          intellectually properties or scenarios that may be associated at a future
            point in time”
 5
     (Doc. 81-3 at 28, emphasis and errors in original.) On February 24, 2016, Kotler emailed
 6
     a response to Whittington, apologizing for his delay and stating:
 7
            As a follow up to my request, our company would like to purchase the
 8          domain Gandalf.ca as well as any potential intellectually properties or
 9          scenarios that may be associated at a future point in time with the name
            Gandalf.ca. My company is in position to offer Mitel the sum of ten
10          thousand American dollars ($10,000) for all rights.
11   (Doc. 81-3 at 16, errors in original.)
12          Whittington responded the same day, February 24, 2016, stating, “Mitel accepts
13   the offer and provides a draft Domain Name Assignment Agreement for your review.”1
14   Whittington asked Kotler to insert the purchaser’s information and to indicate any edits
15   by redline on the returned document. Paragraph A of Whittington’s February 24, 2016
16   draft Domain Name Assignment Agreement stated:
17          A. Assignment of Domain Name. For good and valuable consideration,
18          payable as more particularly described herein, Mitel hereby agrees to
            transfer and assign to INTELLECTUAL PROPERTY PURCHASER all of
19          Mitel’s right, title and interest in and to the Domain Name <gandalf.ca>
20          and the registration thereof, together with the goodwill of the business
            connected with and symbolized by such Domain Name, and any intellectual
21          property rights relating thereto, to the extent any such rights exist. The
22          transfer and the assignment shall take effect as set forth herein upon
            INTELLECTUAL PROPERTY PURCHASER’S making the payment
23          provided for herein.
24   (Doc. 81-3 at 17.)
25          On February 26, 2016, Kotler sent an email to Whittington with the subject
26   “Revised domain assignment” and an attachment named “DOMAIN NAME
27
            1
28          At some point before February 26, 2016, Whittington confirmed that the domain
     name gandalf.ca was registered to Mitel Networks Corporation.

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 1   ASSIGNMENT AGREEMENT.pdf.” The email stated: “Here is the revised domain
 2   assignment . . . . The company recognizes that you may or may not have rights as a result
 3   of the old bankruptcy proceedings but is willing to go forward on quit claim basis.”
 4   Kottler’s revised Domain Name Assignment Agreement did not indicate the revisions
 5   made to Whittington’s February 24, 2016 draft. Kotler’s revisions included adding the
 6   following paragraph to the preamble:
 7          WHEREAS, Dividend Advisors LLC has introduced the INTELLECTUAL
 8          PROPERTY PURCHASER to intangible rights which may be claimed as a
            result of a prior bankruptcy proceeding, including domain name and related
 9          intellectual property.
10   (Doc. 81-2 at 55.) Kotler changed the original preamble paragraph from saying Mitel
11   agrees to “sell, transfer and assign” the domain name to saying Mitel agrees to “quit
12   claim, transfer and assign” the domain name “and related rights . . . .” (Id.) Kotler also
13   inserted the phrase “the associated IPv4 134.22.0.0/16 and any associated trade dress, or
14   other intellectual property” into Paragraph A.2 Thus, Paragraph A of Kotler’s February
15   26, 2016 draft Domain Name Assignment Agreement stated:
16          A. Assignment of Domain Name. For good and valuable consideration,
17          payable as more particularly described herein, Mitel hereby agrees to quit
            claim to INTELLECTUAL PROPERTY PURCHASER any of Mitel’s
18          right, title and interest in and to the Domain Name <gandalf.ca> and the
19          registration thereof, together with the goodwill of the business connected
            with and symbolized by such Domain Name, and the associated IPv4
20          134.22.0.0/16 and any associated trade dress, or other intellectual property
21          intellectual property rights relating thereto, to the extent any such rights
            exist. The quit claim transfer and assignment shall take effect as set forth
22          herein upon INTELLECTUAL PROPERTY PURCHASER’S making the
            payment as provided for herein.
23
     (Id. (repetition of “intellectual property” in original)). Kotler’s revision also modified
24
     Paragraph D of Whittington’s draft to include reference to intellectual property.
25
26
27          2
              “IPv4 134.22.0.0/16” refers to a block of 65,536 addresses unrelated to the
28   domain name gandalf.ca. It is uncertain whether Mitel Networks did or does have title to
     the IPv4 134.22.0.0/16 addresses.

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 1          After February 26, 2016, Kotler and Whittington spoke by telephone many times
 2   regarding purchase of the domain name, escrow information, and the identity of the
 3   buyer. There was no mention of any IPv4 address transfer.
 4          On March 1, 2016, Kotler emailed to Whittington “the domain name assignment
 5   agreement in Word.” On March 3, 2016, Whittington returned the document with “a few
 6   edits and questions,” shown in redline tracking. In Paragraph A, she highlighted “IPv4
 7   134.22.0.0/16” and added a comment asking “What is this?” She changed “Domain
 8   Name and intellectual property” in Paragraph D to “Domain Name and any associated
 9   intellectual property rights.”
10          Kotler did not respond to Whittington’s question regarding “IPv4 134.22.0.0/16.”
11   Whittington asked Mitel Networks’ vice president of business strategy about the
12   reference and subsequently felt comfortable with executing the Domain Name
13   Assignment Agreement.
14          On March 7, 2016, Kottler emailed Whittington, stating that the “signed
15   agreement” was attached; however, the attached document was not signed. Kottler’s
16   March 7, 2016 revision of the Domain Name Assignment Agreement changed the title of
17   Paragraph A from “Assignment of Domain Name” to “Quit Claim.” The March 7, 2016
18   revision deleted a comma, but it did not correct the phrase “other intellectual property
19   intellectual property rights relating thereto.”
20          Kottler’s email also stated: “The standard online escrow instruction [sic] have
21   been forwarded to you and the internet protocol transfer form will be forwarded. Upon
22   signature and submission of the escrow instructions, the $10,000 will be immediately
23   funded.    Upon the change in registration and transfer, the funds are immediately
24   released.” (Doc. 84-2 at 33.) The record does not include evidence that the “standard
25   online escrow instructions” were forwarded to Whittington, and at oral argument counsel
26   for Colocation conceded there is no such evidence.
27
28

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 1         On March 10, 2016, the Domain Name Assignment Agreement was executed by
 2   Ahdoot on behalf of Colocation. On March 18, 2016, it was executed on behalf of Mitel
 3   Networks by its General Counsel.
 4         On March 23, 2016, Kotler introduced Whittington via email to Samantha
 5   Walters, “VP of Online Strategies” for Colocation, and said Walters would assist
 6   Whittington “in the domain transfer process.” On March 24 and 25, 2016, Walters and
 7   Whittington communicated about opening escrow with Escrow.com, and six attempts
 8   were made to open an escrow account with Escrow.com.           The description of each
 9   transaction referred to either Domain Name Assignment or Domain Name Transfer and
10   did not mention transfer of IPv4 addresses.     The record indicates that Escrow.com
11   requested a copy of the parties’ contract, but it does not include evidence of what was
12   submitted to Escrow.com and by whom.
13         On March 24, 2016, Colocation initiated the first transaction with Escrow.com
14   with the note “Domain name transfer only.” Four minutes later, Colocation canceled it,
15   stating the reason as “Correction.” Sixteen minutes later, Colocation initiated a second
16   transaction without any note. On March 25, 2016, Mitel Networks initiated a third
17   transaction with the note “Domain name transfer only.” An hour and eighteen minutes
18   later, Colocation initiated the fourth transaction with the description “Modified –
19   Gandalf.ca Domain Name Transfer” and five minutes later canceled the third transaction,
20   stating the reason as “Modification made.”     Twenty minutes later, Mitel Networks
21   initiated a fifth transaction with the note “Domain name transfer only.” Twenty-three
22   minutes later, Colocation canceled the second transaction without explanation. Seven
23   minutes later, Mitel Networks initiated a sixth transaction with the note “Domain name
24   transfer only.”   Thirty minutes later, Colocation canceled both the fifth and sixth
25   transactions, stating the reason as “Not the right one.” Thirteen minutes later, both
26   parties accepted the fourth transaction, which was initiated by Colocation and did not
27   have the note “Domain name transfer only.”
28

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 1          On March 28, 2016, Walters sent an email to Whittington with the subject
 2   “Gandalf.ca Transfer Next Steps.”      Walters told Whittington that Colocation’s Bills
 3   Payable Department had confirmed that the wire transfer to Escrow.com had been
 4   completed, and she provided the Reference Escrow Transaction number. Walters also
 5   said to Whittington, “As per our conversation last week, our next step is to transfer the IP
 6   range from Mitel to Colocation America.” This was the first time in the exchanges that
 7   Colocation mentioned transfer of IPv4 addresses to Mitel Networks. Walters said that
 8   after the IPv4 addresses were transferred, then the domain name would be transferred,
 9   and it would take about two weeks before everything was confirmed and Escrow.com
10   would release the funds.        Whittington responded that “there appears to be a
11   miscommunication that needs to be worked out first.”
12          On March 30, 2016, via email, Kotler told Whittington that the signed agreement
13   stated “both the domain and IP range were included and thus sold to the buyer.” Kotler
14   asked who he should speak to “to get the domain and IP range transferred to the buyer as
15   per the executed agreement/escrow.” On March 31, 2016, Whittington responded that
16   there was “obviously a misunderstanding that needs to be cleared up” and asked if it were
17   possible for her to speak directly with Colocation. On April 6, 2016, Kotler sent to
18   Whittington the following email message:
19          So that we can finalize the agreement of the Gandalf.ca domain sale and the
20          associated IPv4 134.22.0.0/16 that that [sic] you have personally
            approved, authorized, overseen and customized to meet your specifications
21          and as much as Mitel and Colocation America have mutually signed off on
22          the agreement, please coordinate via email with Samantha so that we can
            effectuate the transfers of both the domain Gandalf.ca and the associated
23          IPv4 134.22.0.0/16 this week. I will be out of the office however I will be
24          accessible via email.

25   (Doc. 81-4 at 7.) On April 11, 2016, Walters, via email, requested that Whittington begin

26   the process to transfer first the IPv4 block and then the domain name gandalf.ca.

27   Immediately thereafter, Whittington responded: “[T]here has been a misunderstanding of

28   what Mitel has agreed to sell. Mitel is prepared to transfer the domain name and all


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 1   goodwill associated thereof. The Mitel IT Dept is standing by to transfer the domain
 2   name when Colocation America is ready.” Whittington further stated that she had been
 3   waiting for Kotler to arrange a meeting as she had requested a few weeks ago. On April
 4   12 and 15, 2016, Walters repeated her request to talk to Mitel Networks’ IT department
 5   to transfer the IPv4 block. On April 15, 2016, Whittington repeated her request for a
 6   meeting and affirmed that Mitel Networks was prepared to transfer the domain name as
 7   agreed upon with Kotler and in the Domain Name Assignment Agreement. On April 18,
 8   2016, Walters referred Whittington to Colocation’s attorney.
 9          On May 14, 2017, Escrow.com emailed Colocation and Mitel Networks inquiring
10   about the status of the transaction titled “Modified – Gandalf.ca Domain Name Transfer.”
11   On June 16, 2016, Escrow.com emailed Colocation and Mitel Networks inquiring about
12   the status of “the transfer of the domain and the IPv4 block” in the transaction titled
13   “Modified – Gandalf.ca Domain Name Transfer.” Ahdoot responded to both emails that
14   Colocation was waiting for Mitel Networks to honor the contract terms before it released
15   the funds.
16          D.     The Contract
17          The contract executed on behalf of both parties is titled “Domain Name
18   Assignment Agreement.”        It defines “Mitel” as Mitel Networks Corporation and
19   “INTELLECTUAL PROPERTY PURCHASER” as Colocation America, Inc.                       The
20   preamble refers to “domain name and related intellectual property” and to “the domain
21   name . . . and related rights.” “Domain Name” is defined as the domain name gandalf.ca.
22   “Intellectual property” is not defined.
23          The Domain Name Assignment Agreement includes Paragraphs A through F and
24   Schedule A (wire transfer instructions). Paragraph A states:
25          A. Quit Claim. For good and valuable consideration, payable as more
26          particularly described herein, Mitel hereby agrees to quit claim to
            INTELLECTUAL PROPERTY PURCHASER any of Mitel’s right, title
27          and interest in and to the Domain Name <gandalf.ca> and the registration
28          thereof, together with the goodwill of the business connected with and


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 1           symbolized by such Domain Name and the associated IPv4 134.22.0.0/16
 2           and any associated trade dress, or other intellectual property intellectual
             property rights relating thereto, to the extent any such rights exist. The quit
 3           claim transfer and assignment shall take effect as set forth herein upon
             INTELLECTUAL PROPERTY PURCHASER’S making the payment as
 4
             provided for herein.
 5
     (Doc. 81-2 at 5 (repetition of “intellectual property” in original)).
 6
             Paragraph B states:
 7
             B. Payment. The consideration (the “Consideration”) to be paid by
 8           INTELLECTUAL PROPERTY PURCHASER shall be in the amount and
 9           through escrow as set forth in the standard Escrow.com instructions, to be
             entered concurrent with this Agreement by the parties and for the amount
10           therein to be deposited by purchaser upon opening escrow along with the
             escrow fees. Within 1 business day after notification from Escrow.com that
11
             the purchase funds have been received from the INTELLECTUAL
12           PROPERTY PURCHASER, Mitel shall change the registered ownership of
             the Domain Name with a third-party registrar so that the “WHOIS”
13
             information will be registered to the INTELLECTUAL PROPERTY
14           PURCHASER, or agent of its choosing, and transfer the Domain Name to a
             hosting service designated by the INTELLECTUAL PROPERTY
15           PURCHASER and further execute any instrument of transfer [sic] may be
16           required to effectuate the purchase of any of the quit intellectual property
             rights. Upon notice to Escrow.com of visible “Whois” registration and all
17           related intellectual property transfer, the CONSIDERATION funds are to
18           be released to Mitel by wire transfer as Mitel provides in the escrow
             instruction.
19
     (Id. at 6.)
20
             Paragraph C states:
21
             C. Mitel’s Obligations. Mitel agrees to cooperate with INTELLECTUAL
22           PROPERTY PURCHASER and to follow INTELLECTUAL PROPERTY
23           PURCHASER’S reasonable instructions in order to effectuate any transfer
             of the Domain name or any intellectual property in a timely manner.
24           Specifically, upon receipt of the consideration, Mitel further agrees to
25           prepare and transmit any necessary registration agreement or
             correspondence to authorize the transfers.
26
     (Id.)
27
28

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 1           Paragraph D states:
 2           D. Warranty. Mitel warrants and represents that: (i) it has the full power
 3           and lawful authority to enter into this quit claim assignment and transfer the
             Domain Name, and (ii) it is the lawful owner of the Domain Name and any
 4           associated intellectual property rights.
 5   (Id.)
 6           Paragraph E states:
 7           E.     INTELLECTUAL PROPERTY PURCHASER Obligations.
 8           INTELLECTUAL PROPERTY PURCHASER agrees not to: use the
             Domain Name or any resulting website: (i) to disparage Mitel in any way;
 9           (ii) and disclose the material terms of this Agreement, such as the
10           Consideration, however either party may disclose the existence of the
             Agreement.
11
     (Id. at 6-7.)
12
             Paragraph F states:
13
             F. Entire Agreement. This Agreement embodies the entire understanding
14           of the parties with respect to the subject matter hereof, and merges all prior
15           discussions between them, and neither of the parties shall be bound by any
             conditions, definitions, warranties, understandings, or representations with
16           respect to the subject matter hereof other than as expressly provided herein.
17           No oral explanation or oral information by either party hereto shall alter the
             meaning or interpretation of this Agreement.
18
     (Id. at 7.)
19
     III.    ANALYSIS
20
             A.      Interpreting Contracts Under Arizona Law
21
             “Generally, and in Arizona, a court will attempt to enforce a contract according to
22
     the parties’ intent.” Taylor v. State Farm Mut. Auto. Ins. Co., 175 Ariz. 148, 152, 854
23
     P.2d 1134, 1138 (1993). The purpose of interpreting a contract is to discover the parties’
24
     intent and to make it effective. Id.
25
             “The interpretation of a contract is a question of law for the court. Where the
26
     language of the contract is clear and unambiguous, it must be given effect as it is
27
     written.” Hadley v. Sw. Props., Inc., 116 Ariz. 503, 506, 570 P.2d 190, 193 (1977).
28
     However, the court “must avoid the often irresistible temptation to automatically interpret

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 1   contract language as he or she would understand the words” and conclude the contract
 2   language is “unambiguous.” Taylor, 175 Ariz. at 153, 854 P.2d at 1139. “Words [] are
 3   seldom so clear that they ‘apply themselves to the subject matter.’”         Id. (quoting
 4   Restatement (Second) of Contracts § 214 cmt. b); see also Restatement (Second) of
 5   Contracts § 212 cmt. b (“[M]eaning can almost never be plain except in a context.”). “In
 6   Arizona, therefore, the interpretation of a negotiated agreement is not limited to the
 7   words set forth in the document.” Darner Motor Sales, Inc. v. Universal Underwriters
 8   Ins. Co., 140 Ariz. 383, 393, 682 P.2d 388, 398 (1984).
 9         “A contract should be read in light of the parties’ intentions as reflected by their
10   language and in view of all the circumstances.” Smith v. Melson, Inc., 135 Ariz. 119,
11   121, 659 P.2d 1264, 1266 (1983); accord Darner, 140 Ariz. at 393, 682 P.2d at 398.
12   Evidence of the parties’ negotiations, prior understandings, and subsequent conduct may
13   be considered to determine the parties’ intent and to interpret the meaning of provisions
14   in the contract. Darner, 140 Ariz. at 393, 682 P.2d at 398.
15         “Where the parties have attached the same meaning to a promise or agreement or a
16   term thereof, it is interpreted in accordance with that meaning.” Restatement (Second) of
17   Contracts § 201(1); accord Johnson v. Cavan, 152 Ariz. 452, 455, 733 P.2d 649, 652 (Ct.
18   App. 1986). However,
19         Where the parties have attached different meanings to a promise or
           agreement or a term thereof, it is interpreted in accordance with the
20
           meaning attached by one of them if at the time the agreement was made
21                (a) that party did not know of any different meaning attached by the
22                other, and the other knew the meaning attached by the first party; or

23                (b) that party had no reason to know of any different meaning
                  attached by the other, and the other had reason to know the meaning
24                attached by the first party.
25   Restatement (Second) of Contracts § 201(2). “[T]he relevant intention of a party is that
26   manifested by him rather than any different undisclosed intention.”          Restatement
27   (Second) of Contracts § 212 cmt. a. But if a contractual provision remains unclear after
28   considering the parties’ intent, the court construes the provision against the drafter. MT

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 1   Builders, L.L.C. v. Fisher Roofing, Inc., 219 Ariz. 297, 302, 197 P.3d 758, 763 (Ct. App.
 2   2008); Skydive Arizona, Inc. v. Hogue, 238 Ariz. 357, 367, 360 P.3d 153, 163 (Ct. App.
 3   2015); see Restatement (Second) of Contracts § 206.
 4          B.     The Domain Name Assignment Agreement
 5          The parties’ contract is titled “Domain Name Assignment Agreement.”                 The
 6   Domain Name Assignment Agreement provides that Colocation will pay consideration to
 7   Mitel Networks in exchange for Mitel Networks assigning the rights to use a domain
 8   name and transferring registration of the domain name to Colocation. The parties dispute
 9   whether the Domain Name Assignment Agreement provides that, in addition to assigning
10   the domain name, for no additional consideration Mitel Networks will transfer rights to a
11   block of 65,536 IPv4 addresses. The Domain Name Assignment Agreement does not
12   mention IPv4 addresses except once in Paragraph A.
13          The parties disagree regarding the meaning of the italicized portion of the
14   following sentence in Paragraph A:
15          . . . Mitel hereby agrees to quit claim to INTELLECTUAL PROPERTY
16          PURCHASER any of Mitel’s right, title and interest in and to the Domain
            Name <gandalf.ca> and the registration thereof, together with the goodwill
17          of the business connected with and symbolized by such Domain Name and
            the associated IPv4 134.22.0.0/16 and any associated trade dress, or other
18
            intellectual property intellectual property [sic] rights relating thereto, to the
19          extent any such rights exist.
20   Mitel Networks contends that the italicized portion means Mitel Networks will quit claim
21   the goodwill of the business connected with associated IPv4 addresses and associated
22   trade dress. Colocation contends that it means that Mitel Networks will quit claim the
23   goodwill of the business plus the associated IPv4 134.22.0.0/16 addresses plus any
24   associated trade dress.
25          None of the other provisions of the Domain Name Assignment Agreement support
26   Colocation’s interpretation, beginning with the title which does not mention IPv4
27   addresses.   The preamble refers to transfer of the domain name and related rights.
28   Paragraph B provides that after Escrow.com notifies Mitel Networks that the purchase


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 1   funds have been received from Colocation, Mitel Networks will change the registered
 2   ownership of the domain name and transfer the domain name to a designated hosting
 3   service.   Paragraph C requires Mitel Networks to follow Colocation’s reasonable
 4   instructions regarding registration and transfer of the domain name.        Paragraph D
 5   requires Mitel Networks to warrant that it has authority to transfer the domain name and
 6   it is the lawful owner of the domain name and “any associated intellectual property
 7   rights.” Paragraph E prohibits Colocation from using the domain name or any resulting
 8   website to disparage Mitel Networks. The Domain Name Assignment Agreement does
 9   not include any provisions regarding transferring IPv4 134.22.0.0/16 after notification of
10   payment, following instructions for transfer of IPv4 134.22.0.0/16, warranting authority
11   to transfer IPv4 134.22.0.0/16, or disparaging use of IPv4 134.22.0.0/16.        Further,
12   although IPv4 134.22.0.0/16 is registered to Gandalf Technologies, Inc., IPv4
13   134.22.0.0/16 is not associated with the domain name gandalf.ca.
14          Paragraph B refers to “the standard Escrow.com instructions, to be entered
15   concurrent with this Agreement by the parties and for the amount therein to be deposited
16   by purchaser upon opening escrow along with the escrow fees.” Colocation asserts that
17   Escrow.com instructions were incorporated into the Domain Name Assignment
18   Agreement, confirm the language of the Contract, were emailed to Whittington, and
19   accepted by Whittington. However, the record does not include evidence of escrow
20   instructions that were emailed to Whittington, what those escrow instructions actually
21   stated, or evidence that Whittington accepted those escrow instructions. Colocation cites
22   to general instructions that do not state the amount of consideration and do not indicate
23   whether the transaction between Colocation and Mitel Networks involved domain names
24   and/or IPv4 addresses. Moreover, the general instructions for transactions involving IPv4
25   addresses require that specific information regarding transfer be included in the escrow
26   instructions at the commencement of the transaction.         There is no evidence that
27   Whittington had knowledge of or provided the necessary information to commence an
28   Escrow.com transaction involving the transfer of IPv4 addresses.          Screenshots of

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 1   Escrow.com’s summary notes that mention transfer of “IPv4 134.22.0.0/16 netblocks” do
 2   not show what escrow instructions Whittington actually received and accepted.
 3         Colocation asserts that it added the quit claim language at the same time it added
 4   the reference to IPv4 134.22.0.0/16 because neither party knew if Mitel Networks in fact
 5   owned the addresses. However, screen shots of Ahdoot’s Escrow.com account show a
 6   partial transaction description appearing to require actual transfer of the IPv4
 7   134.22.0.0/16 addresses before payment would be released to Mitel Networks.             If
 8   accurate, Mitel Networks would not be paid unless it in fact owned the addresses.
 9         Although Paragraph A is poorly drafted and contains grammatical and
10   typographical errors, both the express language of Paragraph A and the remainder of the
11   Domain Name Assignment Agreement require interpreting Paragraph A as meaning that
12   Mitel Networks will quit claim rights to a domain name, its registration, and the goodwill
13   of the business that is associated with the domain name and associated with a block of
14   IPv4 addresses and trade dress.
15         C.     The Parties’ Intent
16         “[T]he relevant intention of a party is that manifested by him rather than any
17   different undisclosed intention.”   Restatement (Second) of Contracts § 212 cmt. a.
18   Colocation wanted to acquire a block of IPv4 addresses from Mitel Networks, but there is
19   no evidence that Colocation disclosed that intent to Mitel Networks before the Domain
20   Name Assignment Agreement was executed.
21         Before execution of the agreement, Colocation manifested only the intent to
22   acquire a domain name.       The parties never negotiated a sale of IPv4 addresses.
23   Colocation offered to pay $10,000 for the domain name gandalf.ca and intellectual
24   property associated with the name gandalf.ca. Mitel Networks accepted the offer and
25   drafted an agreement to sell the domain name gandalf.ca and “the goodwill of the
26   business connected with and symbolized by such Domain Name, and any intellectual
27   property rights relating thereto.” Colocation added a reference to the business’s goodwill
28   associated with IPv4 134.22.0.0/16 without explanation, without increasing its offer, and

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 1   without seeking acceptance from Mitel Networks. Kotler and Whittington exchanged
 2   emails and spoke by telephone many times, but Kotler never mentioned transferring IPv4
 3   134.22.0.0/16—a block of 65,536 IPv4 addresses unrelated to the domain name
 4   gandalf.ca.
 5             “Where the parties have attached different meanings to . . . an agreement . . . , it is
 6   interpreted in accordance with the meaning attached by one of them if at the time the
 7   agreement was made . . . that party had no reason to know of any different meaning
 8   attached by the other, and the other had reason to know the meaning attached by the first
 9   party.”     Restatement (Second) of Contracts § 201(2).           As discussed above, Mitel
10   Networks had no reason to know that Colocation interpreted the Domain Name
11   Assignment Agreement as an agreement to transfer IPv4 addresses. Colocation had
12   reason to know Mitel Networks interpreted the Domain Name Assignment Agreement as
13   an agreement to assign a domain name and not as an agreement to transfer IPv4
14   addresses. Although Ahdoot hired Kotler to acquire the IPv4 134.22.0.0/16 addresses,
15   Kotler intentionally misled Mitel Networks by offering only to buy a domain name.
16   Kotler told Ahdoot and Seligman, “I would write it up for the domain and somehow slip
17   in the IPV4.” Kotler asked, “Is there a way to slip it in nebulously?” Then Kotler
18   suggested slipping the IPv4 addresses in “nebulously,” using words almost identical to
19   the language he used in his email to Whittington: “any potential intellectually [sic]
20   properties or scenarios that may be associated at a future point in time.”
21             Moreover, IPv4 addresses were never mentioned before Colocation offered and
22   Mitel Networks accepted the offer of $10,000 for the assignment of a domain name. It
23   would not have been reasonable for Colocation to expect Mitel Networks to add to the
24   deal the transfer of 65,536 IPv4 addresses of value far greater than $10,000 without any
25   additional consideration. That further proves that Colocation knew that Mitel Networks
26   did not intend to transfer the IPv4 addresses.
27             This case is a poster child for the rule of § 201(2) of the Restatement.
28   Colocation’s objective from the outset was to acquire the IPv4 addresses.                 But it

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 1   purported to negotiate only for a domain name without ever leveling with Mitel
 2   Networks.     Colocation not only had “reason to know” Mitel Networks attached a
 3   “different meaning” to their agreement, it created and promoted that different meaning on
 4   the part of Mitel Networks. Thus, the Domain Name Assignment Agreement must be
 5   interpreted in accordance with the meaning attached by Mitel Networks, that is, as an
 6   agreement to assign a domain name and goodwill and not as an agreement to transfer
 7   IPv4 addresses.
 8           There is no genuine dispute about the material facts of this case. The parties do
 9   not dispute the evidence of their communications and course of dealing. They agree that
10   the Court can and should interpret their contract as a matter of law. Summary judgment
11   is therefore appropriate.
12           Mitel Networks’ counterclaim seeks alternatively specific performance of the
13   contract for $10,000 or rescission and termination of the contract based on Colocation’s
14   material breach. At oral argument Mitel Networks elected the latter remedy.
15           IT IS THEREFORE ORDERED that Mitel Networks Corporation’s Motion Under
16   Fed. R. Civ. P. 56 for Summary Judgment on Contract Interpretation (Doc. 81) is granted
17   and Plaintiff’s Cross Motion for Summary Judgment on Contract Interpretation (Doc. 84)
18   is denied.
19           IT IS FURTHER ORDERED that the Clerk enter judgment against Plaintiff
20   Colocation America Corporation on its complaint and in favor of Defendant Mitel
21   Networks Corporation and that Plaintiff take nothing.
22           IT IS FURTHER ORDERED that the Clerk enter judgment in favor of
23   Counterclaimant Mitel Networks Corporation on its counterclaim and against Counter-
24   defendant Colocation America Corporation, declaring that the Domain Name Assignment
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26   / / /
27   / / /
28   / / /

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 1   Agreement is rescinded and terminated based on Colocation’s material breach of the
 2   Agreement.
 3         The Clerk shall terminate this case.
 4         Dated this 15th day of June, 2018.
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